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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

UNITED STATES OF AMERICA,                 :
                                          :
            v.                            :                  Nos. 5:17-cr-00556 / 5:20-cr-00248
                                           :
JASON WEIGAND.                             :
__________________________________________

                                           ORDER

        AND NOW, this 23nd day of September, 2021, upon consideration of the Government’s
motion in limine, see ECF No. 84 in 17-556; ECF No. 10 in 20-248, and for the reasons set forth
in the Opinion issued this date, IT IS ORDERED THAT:

       1.      The Government’s Motion in Limine to Admit Telephone Recordings, ECF No.
84 in 17-556; ECF No. 10 in 20-248, is GRANTED consistent with the discussion in the
Opinion:

              A.      Exhibits 8–12 and 15–17 are admissible as intrinsic evidence.

              B.      Exhibits 1–7, 13, 14, 18, and 19 are admissible under Rule 404(b) of the
Federal Rules of Evidence.

              C.      Rulings regarding authenticity of Exhibits 1–19 are reserved for trial.




                                                      BY THE COURT:

                                                      /s/ Joseph F. Leeson, Jr.
                                                      JOSEPH F. LEESON, JR.
                                                      United States District Judge




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